Case 1:21-cv-07957-LAK   Document 90-21   Filed 06/30/23   Page 1 of 18




         Exhibit 21
      Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 2 of 18



                                                                         Page 1

1                    UNITED STATES DISTRICT COURT
2              FOR THE SOUTHERN DISTRICT OF NEW YORK
3       MARVEL CHARACTERS, INC.,
4            Plaintiff and
             Counterclaim-Defendant,
5
                     vs.                    Case No. 1:21-cv-7955-LAK
6                                           and consolidated cases
        LAWRENCE D. LIEBER,                 21-cv-7957-LAK and
7                                           21-cv-7959-LAK
             Defendant and
8            Counterclaimant.
        ____________________________
 9      MARVEL CHARACTERS, INC.,
10           Plaintiff and
             Counterclaim-Defendant,
11
                     vs.
12
        KEITH A. DETTWILER, in his
13      capacity as Executor of the
        Estate of Donald L. Heck,
14
             Defendant and
15           Counterclaimant.
        ____________________________
16      MARVEL CHARACTERS, INC.,
17           Plaintiff and
             Counterclaim-Defendant,
18
                     vs.
19
        PATRICK S. DITKO, in his
20      capacity as Administrator of
        the Estate of Stephen J.
21      Ditko,
22           Defendant and
             Counterclaimant.
23      ____________________________
24
25      caption(cont'd)

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      Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 3 of 18



                                                                         Page 2

1                   ZOOM DEPOSITION OF JAMES F. STERANKO
2       (Reported Remotely via Video & Web Videoconference)
3             Reading, Pennsylvania (Deponent's location)
4                        Friday, February 10, 2023
5                                     Volume 1
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7
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11
12
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19
20
        STENOGRAPHICALLY REPORTED BY:
21      REBECCA L. ROMANO, RPR, CSR, CCR
        California CSR No. 12546
22      Nevada CCR No. 827
        Oregon CSR No. 20-0466
23      Washington CCR No. 3491
24      JOB NO. 5753867
25      PAGES 1 - 108

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      Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 4 of 18



                                                                         Page 3

1                   UNITED STATES DISTRICT COURT
2              FOR THE SOUTHERN DISTRICT OF NEW YORK
3       MARVEL CHARACTERS, INC.,
4            Plaintiff and
             Counterclaim-Defendant,
5
                     vs.                    Case No. 1:21-cv-7955-LAK
6                                           and consolidated cases
        LAWRENCE D. LIEBER,                 21-cv-7957-LAK and
7                                           21-cv-7959-LAK
             Defendant and
8            Counterclaimant.
        ____________________________
 9      MARVEL CHARACTERS, INC.,
10           Plaintiff and
             Counterclaim-Defendant,
11
                     vs.
12
        KEITH A. DETTWILER, in his
13      capacity as Executor of the
        Estate of Donald L. Heck,
14
             Defendant and
15           Counterclaimant.
        ____________________________
16      MARVEL CHARACTERS, INC.,
17           Plaintiff and
             Counterclaim-Defendant,
18
                     vs.
19
        PATRICK S. DITKO, in his
20      capacity as Administrator of
        the Estate of Stephen J.
21      Ditko,
22           Defendant and
             Counterclaimant.
23      ____________________________
24
25      caption(cont'd)

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      Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 5 of 18



                                                                         Page 4

1                    DEPOSITION OF JAMES F. STERANKO, taken on
2       behalf of the Plaintiff and Counterclaim-Defendant,
3       with the deponent located in Reading, Pennsylvania,
4       commencing at 12:53 p.m., Friday,
5       February 10, 2023, remotely reported via Video &
6       Web Videoconference before REBECCA L. ROMANO, a
7       Certified Shorthand Reporter, Certified Court
8       Reporter, Registered Professional Reporter.
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                                                                         Page 5

1                              APPEARANCES OF COUNSEL
2       (All parties appearing via Web Videoconference)
3
4       For the Plaintiff and Counterclaim-Defendant:
5               O'MELVENY & MYERS LLP
6               BY:   MOLLY M. LENS
7               BY:   MATTHEW KAISER*Admitted pro hac vice
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22
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24
25      /////

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      Case 1:21-cv-07957-LAK    Document 90-21      Filed 06/30/23   Page 7 of 18



                                                                          Page 6

1                              APPEARANCES OF COUNSEL
2       (All parties appearing via Web Videoconference)
3
4       For the Defendant and Counterclaimant and Deponent:
5               TOBEROFF & ASSOCIATES, P.C.
6               BY:   MARC TOBEROFF
7               BY:   JAYMIE PARKKINEN
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12              (310) 246-3333
13              info@toberoffandassociates.com
14
15
16
17      ALSO PRESENT:
18              Soseh Kevorkian, Videographer
19
20
21
22
23
24
25      /////

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      Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 8 of 18



                                                                       Page 29

1       than maybe an hour's work, I think I inked the
2       figure of Daredevil and he did the background on
3       it.    But it wasn't an assignment.
4              Q.    (By Ms. Lens)         I understand -- I
5       apologize.
6                    Continue.
7              A.    And what was the rest of your question,
8       please?
9              Q.    Yeah.
10                   So I understand that your work on the
11      Daredevil comic -- cover, excuse me, was not in an
12      assignment as you testified you were helping a
13      friend with his assignment.
14                   I'm trying to understand for the other
15      work that you did with Marvel, those were pursuant
16      to assignments that come from Stan Lee; is that
17      correct?
18                   MR. TOBEROFF:         Objection as to form.
19      Assumes facts.
20                   THE DEPONENT:         I always worked through --
21                   MR. TOBEROFF:         Lacks foundation -- excuse
22      me.
23                   Go ahead.
24                   THE DEPONENT:         I always worked through
25      Stan -- as -- as my connection at Marvel.                      But it

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                                                                       Page 30

1       was not a matter of assignments.                    It was more like,
2       I would call them options.              I had the -- I had the
3       choice to make to -- to --              to work on some of
4       their books or, you know, pursue my -- my other
5       interests.      And in terms of assignments, unlike
6       perhaps many other situations that Stan had with
7       other artists, writers, inkers, letters, colorists,
8       where he often submitted information to them that
9       he wanted material done.
10                   Stan and I never worked in that manner.
11      He never provided me with plot ideas, character
12      ideas, story ideas.         I was strictly on my own.
13                   So that's why I wouldn't call my work
14      there real assignments.            I was doing that -- I
15      would say on -- on speculation and there were times
16      when Stan rejected the work.
17                   Did that help clarify that point?
18             Q.    (By Ms. Lens)         Yes, I appreciate that.
19      Thank you.
20                   You testified before that you worked on
21      the -- the Nick Fury comic, correct?
22             A.    We split Strange Tales, notice it wasn't
23      called S.H.I.E.L.D Tales.             It was called
24      Strange Tales after Doc Strange, and I -- I did a
25      series of -- of those books splitting the book with

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     Case 1:21-cv-07957-LAK    Document 90-21      Filed 06/30/23   Page 10 of 18



                                                                        Page 41

1       was there on a permanent basis.                  John Verpoorten
2       was there working in -- in-house.                    Herb Trimpe
3       often worked in the -- in the bullpen.                      I met
4       Dick Ayers -- although, I don't think he actually
5       worked in the bullpen.            I think he was just
6       visiting like -- like I was.
7               Q.   (By Ms. Lens)          And who was John
8       Verpoorten?
9               A.   John Verpoorten was an artist and inker
10      and he may have -- he may have done cleanup work at
11      Marvel.
12                   In other words, when artists would submit
13      pages, if there were -- if the elements on the page
14      that Stan or Roy would object to, you know, clean
15      up this face.         Take these lines off of, you know,
16      of this character.         They are confusing.               John would
17      do some of that -- some of that kind of adjustment
18      work.
19              Q.   How about Sol Brodsky, was he someone
20      else that worked in the Marvel bullpen regularly?
21              A.   Yes, he -- he was an administrator of the
22      bullpen.     He was Stan's right-hand man.                   And -- and
23      I think he was probably there almost every time I
24      came into the -- into the -- into the bullpen.
25              Q.   And were Stan Lee and Roy Thomas also

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     Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 11 of 18



                                                                       Page 61

1       give you a treatment or synopsis of the material
2       that it was looking for?
3               A.   Never.
4               Q.   There was supervision, was there not, at
5       Marvel particularly in the early part of your tour
6       at Marvel?
7                    MR. TOBEROFF:         Objection as to form.
8       Vague.
9                    THE DEPONENT:         There was no supervision.
10              Q.   (By Ms. Lens)         Your paychecks from Marvel
11      were stamped "work made for hire," correct?
12                   MR. TOBEROFF:         Objection as to form.
13      Assumes facts.
14                   THE DEPONENT:         I -- I -- I don't -- I
15      don't think that phrase appeared on my checks,
16      especially the early checks.               The early checks
17      didn't have a condition, an agreement stamped on
18      them.
19                   That came in perhaps in the -- in the
20      middle of -- of my Marvel tour, and I believe
21      that -- that the -- that condition changed its
22      wordage as time went on.
23              Q.   (By Ms. Lens)         When you joined -- strike
24      that.
25                   When you started working with Marvel in

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     Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 12 of 18



                                                                       Page 62

1       the 1960s, were your paychecks stamped "work for
2       hire"?
3              A.   They were not.
4                   MR. TOBEROFF:          Objection as to form.
5                   THE DEPONENT:          Let me put it another way,
6       Molly.
7                   I don't remember that happening in my --
8       in my earliest work at Marvel, maybe it didn't
9       happen for an entire year.
10                  I remember I -- I was somewhat appalled
11      or shocked when I began to receive Marvel checks
12      that had that verbiage on it.
13             Q.   (By Ms. Lens)          At some point in the
14      1960s, though, you started receiving checks from
15      Marvel that had the verbiage "work for hire"?
16                  MR. TOBEROFF:          Objection as to form.
17      Misstates his testimony.            Calls for speculation.
18                  THE DEPONENT:          I am not sure the words
19      "work for hire" were on those checks, Molly.                       It
20      may have -- it may have been stated in -- in
21      another way.
22                  We can easily check on that by -- by,
23      you know, looking at, you know, at those very
24      checks at that documentation.
25             Q.   (By Ms. Lens)          Do you have your checks

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     Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 13 of 18



                                                                       Page 63

1       from Marvel from the 1960s?
2               A.   Certainly --
3                    MR. TOBEROFF:         Objection as to form.
4                    THE DEPONENT:         I took them all to the
5       bank.
6               Q.   (By Ms. Lens)         So when you say "that you
7       could easily check," do you have any way to check
8       your checks from Marvel from the 1960s?
9               A.   I was hoping you had a way to check.
10              Q.   Fair enough.
11                   When you took your checks from Marvel to
12      the bank to cash them in the 1960s, you would cross
13      the language off on the back of the checks before
14      you signed them?
15                   MR. TOBEROFF:         Objection as to form.
16      Lacks foundation.
17                   THE DEPONENT:         I may have done that once
18      or twice because I thought creating a condition on
19      a check after the work had been done and turned in,
20      and then I would get my check a week or two later.
21      I thought that that was bad business to add a
22      condition after, after the work was done and used.
23                   It was my way of saying, I -- I don't
24      like this way of doing business.
25                   We actually had no contract.                  I never had

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     Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 14 of 18



                                                                       Page 64

1       a Marvel contract.        We never even had an agreement.
2       We never even had a discussion about the work,
3       particularly about work for hire.
4                   I did all of my Marvel stories on my own
5       cognizance.
6                   MS. LENS:       Okay.       I'm going to move the
7       last part of that answer as nonresponsive.
8              Q.   (By Ms. Lens)          The question,
9       Mr. Steranko, is whether you would cross the
10      language off on the back of the checks before you
11      would cash them?
12                  MR. TOBEROFF:          Objection as to form.
13      Assumes facts.
14                  THE DEPONENT:          I did that -- I did that
15      for several -- for several checks as -- as -- as a
16      statement about the way business was being done.
17      Yes.
18             Q.   (By Ms. Lens)          You were paid by Marvel
19      regardless of whether you crossed the language off
20      on the back of the check, correct?
21             A.   The checks were cashed.
22                  MR. TOBEROFF:          Objection -- excuse me.
23      Give me time to object.            Thank you.
24                  Objection -- objection as to form.                     Lacks
25      foundation.     Assumes facts.

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     Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 15 of 18



                                                                       Page 91

1       you know, this advertising thing that I talked
2       about and music.       Music and art became my life at
3       that point and that was the end of that -- of that
4       period forever.
5                   I was never charged for -- with another
6       crime again because there weren't any, except maybe
7       my comic book work.
8                   So that was the essence of -- that was
9       the essence of that period that -- that, you know,
10      that -- that I -- I discussed earlier.
11             Q.   Thank you.
12                  There's one area of your testimony that
13      was not clear to me and that had to do with
14      language on the back of the checks.
15                  Has -- has any of that -- can you clarify
16      that for -- what you recall for me please, in terms
17      of time period?
18                  MS. LENS:       Objection to form.
19                  THE DEPONENT:          Well, since we talked
20      about, you know, 20 minutes ago.                    I've been trying
21      to -- trying to recollect more details about --
22      about the -- the situation with the checks that I
23      got from Marvel.
24                  I'm not sure when those statements began
25      to appear on -- on the checks.                 I don't remember

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     Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 16 of 18



                                                                       Page 92

1       the term "work for hire."             Particularly with --
2       particularly with the checks that I got in the
3       beginning of my Marvel tour, maybe -- maybe they
4       showed up at the end of -- at the end of my Marvel
5       situation there.       Maybe in the '70s sometimes.
6                   But there was a caption typed on the back
7       that had to do with Marvel purchasing the rights to
8       the material that I had just created; and, of
9       course, in order to cash the check, I had to sign
10      it and most of the time I did exactly that.                      I
11      signed where they wanted me to and -- and gave them
12      the rights to the work, sold them the rights to the
13      work.
14                  There were times when I crossed that --
15      when I crossed that out because I thought I was, as
16      I mentioned earlier, bad business to make an
17      agreement after the work is done and used.
18                  You know, the check would come in
19      following my submitting it to -- to the company.
20      And I thought that was -- I thought that was kind
21      of -- well, kind of slippery business to take
22      advantage of people who were not businessmen like
23      me and most of the other guys, Jack Kirby, Romita,
24      and so forth.
25                  I'm sure we had the -- had the same thing

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     Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 17 of 18



                                                                       Page 93

1       stamped -- stamped or typed on the back of our
2       checks.
3                   But I did -- I did -- I did sign those
4       and -- and I think there was another document
5       sometime later in the '70s that -- that I -- that I
6       gave up rights to the material because they were
7       giving artwork back to -- to creators and that was
8       another source of income for me.                    And that's about
9       -- and that's about all I can tell you at the
10      moment, Marc.
11                  "Work for hire" -- "work for hire" that
12      phrase -- that phrase I don't remember being on,
13      particularly my early checks, but maybe later when
14      I did very few things for Marvel, you know, maybe
15      just like covers or, you know, some fill-in work or
16      whenever.
17             Q.   (By Mr. Toberoff)             When you started
18      working with Marvel that was in 1966?
19             A.   Yes, it was.
20             Q.   And in -- in -- in -- at that time in
21      1966, do you have a recollection as to how many
22      people were full-time employees of Marvel?
23                  MS. LENS:       Objection to form.
24                  THE DEPONENT:          I'm not sure who was an
25      employee of Marvel, except I believe Stan Lee told

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     Case 1:21-cv-07957-LAK   Document 90-21      Filed 06/30/23   Page 18 of 18



                                                                       Page 97

1                    THE DEPONENT:         I never discussed that
2       with Stan Lee, my boss.
3              Q.    (By Ms. Lens)         When you worked for Marvel
4       in the 1960s, Mr. Steranko, you believe that you
5       were on a work for hire basis, correct?
6                    MR. TOBEROFF:         Asked and answered.
7       Objection.     Calls for legal conclusion.                  Objection
8       as to form.
9                    THE DEPONENT:         I did not know the meaning
10      of "work for hire."         We never used that term.
11                   As I -- as I saw the situation, I would
12      create the work in my studio, with my materials,
13      doing my own sketch work, background, writing, and
14      that work would belong to me until I cashed the
15      check.
16                   So when I brought it into Marvel's
17      offices, they didn't own the work yet.                     They hadn't
18      paid for it.      They hadn't commissioned it to me.
19      It was simply an option that they gave me.
20                   And I availed myself of that option.                      But
21      there was no discussions of "work for hire."                       I
22      never even heard that term until much later, maybe
23      in the '70s.
24                   MS. LENS:      Okay.       I'm going to move to
25      strike that answer as nonresponsive.

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